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New Jersey as a Civil Trial Attorney
                                                           April 6, 2022
     VIA ECF
     Honorable Robert B. Kugler
     United States District Court
     Mitchell H. Cohen Building and
      U.S. Courthouse
     Courtroom 4D
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 19-md-2875 (RBK)

     Dear Judge Kugler:

                Please accept this letter on behalf of Plaintiffs’ co-lead counsel, to provide the Court with

     an update and to request modifications to Plaintiffs’ leadership structure. Since the entry of CMO

     6 in May 2019, the circumstances of certain attorneys on Plaintiffs’ Steering Committee (“PSC”)

     or their law firms have changed such that they no longer wish to continue as part of Plaintiffs’

     leadership structure or, the attorney or the firm now seeks to serve in a different capacity.

                The attorneys who request to be removed from the PSC due to changed circumstances,

     with the agreement of the co-leads are:

          •     Roger Orlando
          •     Annesley Degaris
          •     Jon Savin
          •     Mila Bartos
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         The attorneys or firms who seek to serve in a different capacity, with the agreement of the

 co-leads, include:

    •    PSC member Attorney Samuel Anyan, originally with The Cochran Firm, has requested

         that James Carter, of The Cochran firm, take his place on the PSC. Co-Lead counsel have

         met with Mr. Carter and he has assured the co-leads that he is willing and able to accept

         this role and the attendant legal and financial responsibilities.

    •    Layne Hilton, who has been an associate at Kanner Whiteley, and served on several

         committees in this MDL and who currently co-chairs the Class Litigation/Trial Preparation

         Committee, has moved to the law firm of Meyer Wilson. Plaintiffs’ Co-Lead Counsel

         request that she be permitted to join the PSC in order to provide continuity and continue to

         provide valued services to the Plaintiffs. Ms. Hilton and Meyer Wilson have also

         confirmed their commitment to the necessary work and financial contributions going

         forward in the litigation.

         Should the Court be inclined to grant these requests, a form of Order is attached hereto. We

 are of course available to answer any questions the Court may have.

         Thank you for your courtesies and consideration.

                                                                Respectfully,



                                                                Adam M. Slater

 Encl.
